         Case Case 18-3260, Document 135,
              1:16-cv-04865-AJN-OTW       03/06/2020,
                                      Document        2795454,
                                                 99 Filed      Page1
                                                          03/06/20   of 28
                                                                   Page  1 of 28

          18‐3260‐cv
          Gebrial Rasmy v. Marriott International, Inc., et al.

                                                                      1:16-cv-04865-AJN-OTW


                                                       In the
                         United States Court of Appeals
                                        for the Second Circuit


                                              AUGUST TERM 2019

                                                  No. 18‐3260‐cv
                                                                                 Mar 06 2020
                                                GEBRIAL RASMY,
                                               Plaintiff‐Appellant,

                                                           v.

             MARRIOTT INTERNATIONAL, INC. D/B/A JW MARRIOTT ESSEX HOUSE
               HOTEL, ESTRATUE STAMATIS, individually, KAREN DOHERTY,
              individually, TEHRANI MEHRANI, individually, AND SESSKON
                               PONGPANTA, individually,
                                 Defendants‐Appellees.



                         On Appeal from the United States District Court
                             for the Southern District of New York



                                        ARGUED: DECEMBER 11, 2019
                                         DECIDED: MARCH 6, 2020




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Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page2
                                                 03/06/20   of 28
                                                          Page  2 of 28




 Before: CABRANES, BIANCO, Circuit Judges, and REISS, Judge.*




        Plaintiff‐Appellant Gebrial Rasmy appeals from a September 28,
 2018 judgment entered in the Southern District of New York (Alison J.
 Nathan, Judge) principally granting Defendants‐Appellees’ motion for
 summary judgment dismissing Rasmy’s claims brought under Title
 VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981. Rasmy alleged
 a discriminatory hostile work environment and retaliation for
 complaining about discrimination. For the reasons set forth below, we
 VACATE the September 28, 2018 judgment of the District Court and
 REMAND the cause to the District Court for trial.




                               STEPHEN BERGSTEIN, Bergstein & Ullrich,
                               LLP, New Paltz, NY, for Plaintiff‐Appellant.

                               MARK A. SALOMAN, FordHarrison LLP,
                               Berkeley Heights, NJ, for Defendants‐
                               Appellees.

                               GAIL S. COLEMAN, (James L. Lee, Jennifer S.
                               Goldstein, and Elizabeth E. Theran, on the




       Judge Christina Reiss, of the United States District Court for the District of
        *

 Vermont, sitting by designation.




                                          2
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page3
                                                 03/06/20   of 28
                                                          Page  3 of 28




                                 brief), for Amicus Curiae Equal Employment
                                 Opportunity Commission.




 JOSÉ A. CABRANES, Circuit Judge:

         We consider here claims of hostile work environment and
 retaliation in the context of allegations of religious and national origin
 discrimination, necessarily mindful of the inevitable normative
 ambiguity        of    allegations       of       “hostile   work       environment”
 discrimination.1

         Plaintiff‐Appellant Gebrial Rasmy (“Rasmy”) appeals from a
 September 28, 2018 judgment entered in the Southern District of New
 York (Alison J. Nathan, Judge) (1) granting Defendants‐Appellees’
 motion for summary judgment, thereby dismissing Rasmy’s claims
 brought under Title VII of the Civil Rights Act of 1964 (“Title VII”) and
 42 U.S.C. § 1981 (“Section 1981”) alleging a discriminatory hostile
 work environment and discriminatory retaliation; and (2) declining to
 exercise supplemental jurisdiction over Rasmy’s remaining claims



         1See generally, Harris v. Forklift Sys., Inc., 510 U.S. 17, 22‐23 (1993); Gallagher
 v. Delaney, 139 F.3d 338, 347 (2d Cir. 1998) (Jack B. Weinstein, J., sitting by
 designation) (“An Article III judge is not a hierophant of social graces. Evaluation of
 ambiguous acts such as those revealed by the potential evidence in this case
 presents an issue for the jury.”); Reed v. A.W. Lawrence & Co., Inc., 95 F.3d 1170, 1179
 (2d Cir. 1996) (“It cannot be denied that we live in a time of significant cultural
 change, in which varieties of coarse conduct once taken for granted in the American
 workplace appear to be subject to punishment under the law.”).




                                               3
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page4
                                                 03/06/20   of 28
                                                          Page  4 of 28




 brought under the New York State Human Rights Law (“NYSHRL”)
 and the New York City Human Rights Law (“NYCHRL”).

          Rasmy challenges the District Court’s conclusions that (1) the
 record of undisputed facts would not permit a rational jury to find that
 Rasmy suffered from a hostile work environment on the basis of his
 religion and national origin in violation of Title VII and Section 1981;
 and (2) the record of undisputed facts would not permit a rational jury
 to find that Rasmy suffered retaliation for complaining about
 discrimination in violation of Title VII and Section 1981.

          We hold that: (1) a hostile work environment claim does not
 require a plaintiff to show that he or she had been physically
 threatened by the defendant or that his or her work performance has
 suffered as a result of the claimed hostile work environment; (2)
 discriminatory conduct not directly targeted at the plaintiff (e.g.,
 discriminatory remarks made in the plaintiff’s presence though not
 directly aimed at such employee) can contribute to an actionable
 hostile work environment; and (3) dismissal of Rasmy’s retaliation
 claim by summary judgment was improper because Rasmy’s
 submission in opposition to the motion presented disputed issues of
 material fact that should be resolved by a jury.

          Accordingly, we VACATE the September 28, 2018 judgment of
 the District Court and REMAND the cause to the District Court for
 trial.




                                     4
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page5
                                                 03/06/20   of 28
                                                          Page  5 of 28




                                     BACKGROUND

         Our account of the facts is drawn from the District Court’s
 September 28, 2018 summary judgment order and from the record
 before us. In considering the entry of summary judgment in favor of a
 defendant, we are required to resolve all ambiguities and draw all
 permissible factual inferences in favor of the party against whom
 summary judgment is sought.2

    I.         Factual Background

         This suit arises from Rasmy’s employment at the JW Essex
 House on Central Park South in New York City (“Essex House”),
 which        has     been     managed         by    Defendant‐Appellee     Marriott
 International, Inc. (“Marriott”) since 2012. Rasmy began working as a
 banquet server at Essex House in 1991 and worked there until he was
 fired in May 2016. Rasmy identifies himself as of Egyptian heritage
 and as a “devout Coptic Christian.”3

         In late 2012, Rasmy told defendant Karen Doherty (“Doherty”),
 Director of Human Resources for Essex House, that certain employees
 were engaging in wage theft and overcharging, causing Marriott to
 lose money. Rasmy alleges, that in response, Doherty told him, “I am
 sick and tired of this shit, and I’m sick and tired also because of you I
 have to send tons of fucking documents . . . because you have called

         2   See, e.g., Burg v. Gosselin, 591 F.3d 95, 97 (2d Cir. 2010).
         3   App’x 20, 307, 311, 316‐17.




                                                5
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page6
                                                 03/06/20   of 28
                                                          Page  6 of 28




 corporate about possible overcharg[ing].”4 In November or December
 2012, Rasmy’s complaints about wage theft became known to other
 employees at Essex House. After his complaint, other employees
 allegedly began retaliating against Rasmy, in one instance by
 circulating employee petitions against him. Rasmy alleges that,
 following his complaint, defendant Stamatis Efstratiou (“Efstratiou”),
 also a banquet server, as well as a union delegate, made inflammatory
 comments in Rasmy’s presence. Among other comments, Efstratiou
 called him a “fucking Egyptian rat,” and a “fucking mummy,” and
 would say “where’s the fucking mummy.”5 Efstratiou also told
 Rasmy, whom he knew to be a Coptic Christian, that “the idea of God
 is garbage,” “[r]eligions [are] for the stupid people,” and that “priests
 are child molesters and alcoholic[s].”6

       In November 2013, Rasmy called Marriott’s Business Integrity
 Line, which permits employees to speak directly to Marriott’s
 corporate headquarters, to complain about the hostile work
 environment he alleges he was enduring. Sue Birnie (“Birnie”), Area
 Director of Associate Relations, was responsible for investigating
 Rasmy’s complaint, including the allegations of wage theft. Rasmy
 told Birnie that he was being subjected to racial slurs and religious
 insults in the workplace, and although Birnie indicated that she would



       4   App’x 335, 350.
       5   App’x 380.
       6   Id.




                                    6
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page7
                                                 03/06/20   of 28
                                                          Page  7 of 28




 investigate his allegations, she never contacted Rasmy about the
 results of her investigation of the overcharging or discrimination.

       Rasmy also reported the alleged discrimination to Peggy
 Hassinger (“Hassinger”) in Marriott’s human resources department.
 Rasmy asserts he told Hassinger that Efstratiou was harassing him
 based on his national origin and religion by taking “great pride that
 Egyptian[s] do the dirty work in Greece like the Mexican[s] in the
 United States.”7 Efstratiou had also reportedly told Rasmy that
 “Greeks are the only pure race” because they “lived on the same land
 for 3,000 years,” while “Egyptians have been occupied all their
 history.”8 At a Mormon convention hosted at Essex House in 2014‐15,
 Efstratiou referred in Rasmy’s presence to the Mormon guests as
 “fucking non‐alcoholic Christian[s]” and said that “they don’t drink
 but they marry their sister.”9 Rasmy states that he reported this
 incident to Hassinger, who did not follow up on Rasmy’s complaint.
 Rasmy also asserts that he reported these incidents to Doherty who,
 Rasmy alleges, “laughed in [his] face” and did nothing to investigate
 his complaints.10

       Rasmy states in his sworn declaration in opposition to
 Defendants’ summary judgment motion that in addition to Efstratiou,


       7   Id.
       8   Id.
       9   App’x 381.
       10   App’x 381, 493‐94.




                                    7
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page8
                                                 03/06/20   of 28
                                                          Page  8 of 28




 two other employees of Essex House, defendants Tehrani Mehrani
 (“Mehrani”) and Sesskon Pongpanta (“Pongpanta”), would also
 regularly insult and harass him. Rasmy testified that Efstratiou,
 Mehrani, and Pongpanta would “constantly” call him names such as
 “rat,” “[t]he mummy,” “camel,” “Egyptian rat,” “pretentious
 Christian,” and “gyps[y],” and would often garnish these slurs with
 familiar expletives.11 Rasmy claims that eventually Efstratiou would
 refuse to use Rasmy’s given name, and referred to him only by these
 ethnic and religious insults.

       In May 2015, Rasmy filed an Equal Employment Opportunity
 Commission (“EEOC”) charge against Marriott. While Doherty states
 in her depositionthat she told staff that they “[should] not engage in
 that kind of [discriminatory] behavior,”12 Rasmy asserted in his EEOC
 charge that Doherty “explicitly conveyed to [him] how upset she [was]
 about the extra work [he] caused her because of [his] complaints.”13
 Rasmy also alleges that after he filed the EEOC charge, Doherty
 “verbally abused” him and threatened him with “termination under
 false pretenses.”14 Doherty allegedly also told Rasmy that another
 employee had filed a complaint against him, but she did not allow him
 to see evidence of that complaint. Finally, Rasmy claims that after he


       11   App’x 93‐94, 200‐01, 357, 371, 484, 493, 496.
       12   App’x 203‐05.
       13   App’x 493‐94.
       14   App’x 494.




                                            8
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page9
                                                 03/06/20   of 28
                                                          Page  9 of 28




 made “four or five complaints,” Doherty called him into her office and
 told him: “keep your mouth shut about anything [that] happen[s] in
 this hotel or your days will be numbered.”15 After this meeting,
 Rasmy’s attorney emailed Doherty about the harassment, but Doherty
 did not respond.

       Frustrated because of Marriott’s lack of response to his
 allegations, Rasmy drove to Marriott’s corporate headquarters in
 Bethesda, Maryland in January 2016 and spoke to Keith Wallace
 (“Wallace”), Senior Director of Global Investigations. Rasmy told
 Wallace that employees were stealing money from the company, and
 that his internal complaints about the theft led to discriminatory
 retaliation and unlawful religious and racial harassment. In response,
 Wallace told Rasmy to “[t]ake it to Hassinger.”16 When Rasmy told
 Wallace he had already spoken to Hassinger, Wallace replied, “I don’t
 know, it’s not my department.”17 Rasmy explained that he had been
 cursed at, racially insulted, and discriminated against, to which
 Wallace responded, “I am here only to investigate the money issue.
 This other issue you need to take it to Peggy Hassinger.”18 Rasmy
 again stated he had already done so, and Wallace told him, “[w]ell,
 there’s nothing I can do.”19 Defendants disclosed in their Rule 56.1

       15   App’x 361, 367.
       16   App’x 377.
       17   Id.
       18   App’x 378.
       19   Id.




                                   9
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page10
                                                 03/06/20    of 28
                                                          Page  10 of 28




 statement that Wallace eventually went to Essex House to investigate
 the wage theft, but did not state whether he investigated the
 allegations of discrimination.

        Rasmy stated in his sworn declaration in opposition to
 Defendants’ motion for summary judgment that, as a result of his
 reporting to Marriott the discrimination and use of slurs by Efstratiou,
 Mehrani, and Pongpanta, the harassment he experienced at work
 “escalated.”20 In consequence, Rasmy claims, he became “chronically
 nervous,” would “cr[y] regularly,” and began to see a psychiatrist who
 prescribed him anti‐anxiety medication.21

        On May 9, 2016, Rasmy and Pongpanta were working at an
 event in the restaurant at Essex House. A dispute arose between
 Rasmy and Pongpanta in the hallway between the restaurant and the
 kitchen. While Rasmy alleges there was a video camera in that
 hallway, Defendants asserted in their Rule 56.1 statement that “[t]here
 are no surveillance cameras pointing into the hallway” and that “no
 video footage of the altercation exists.”22       Rasmy alleges that
 Pongpanta insulted him and spat in his face, and told him “[y]ou
 smell” and “[y]ou stink.”23 Pongpanta then told Rasmy “you got no …
 witnesses,” and that he would “get my gun” and “finish you

        20   App’x 288.
        21   App’x 287‐88.
        22   App’x 303.
        23   App’x 64.




                                   10
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page11
                                                 03/06/20    of 28
                                                          Page  11 of 28




 tonight.”24 While investigating the incident immediately afterwards,
 Marriott security officers saw liquid on Rasmy’s face, which Rasmy
 alleged was Pongpanta’s saliva. After this incident, Doherty
 recommended Rasmy’s termination, and he was fired by Marriott
 shortly thereafter on May 24, 2016.

     II.         Procedural History

           Rasmy filed this suit against Marriott pro se on June 22, 2016, in
 the Southern District of New York. He challenged his termination as
 discriminatory and retaliatory, and alleged that he had been subjected
 to a hostile work environment on the basis of his race, religion, and
 national origin. Marriott moved to dismiss the complaint under
 Federal Rule of Civil Procedure 12(b)(6). On January 26, 2017, Rasmy,
 now represented by counsel, moved to amend his complaint to add
 the individual defendants and new claims under Section 1981.

           On February 24, 2017, the District Court dismissed Rasmy’s
 hostile work environment claims under New York State and New
 York City law as stated in his initial complaint for lack of subject
 matter jurisdiction, but otherwise denied Marriott’s motion to dismiss.
 After Rasmy filed his First Amended Complaint on May 9, 2017,
 Defendants moved for summary judgment on October 25, 2017. On
 September 28, 2018, the District Court granted Defendants’ summary
 judgment motion as to Rasmy’s Title VII and Section 1981 claims,
 declined to exercise supplemental jurisdiction over the remaining


           24   App’x 72, 355.




                                       11
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page12
                                                 03/06/20    of 28
                                                          Page  12 of 28




 NYSHRL and NYCHRL claims, and dismissed them without
 prejudice.

        This timely appeal followed.

                                      DISCUSSION

        We review de novo a district court’s grant or denial of summary
 judgment on claims brought under Title VII and Section 1981.25 In
 evaluating such motions, the district court must resolve any doubts
 and ambiguities and draw all reasonable inferences in favor of the
 nonmoving party.26 “In determining whether the moving party is
 entitled to judgment as a matter of law, or whether instead there is
 sufficient evidence in the opposing party’s favor to create a genuine
 issue of material fact to be tried, the district court may not properly
 consider the record in piecemeal fashion, trusting innocent
 explanations for individual strands of evidence; rather, it must review
 all of the evidence in the record.”27

        Rasmy primarily makes two points in challenging the District
 Court’s decision granting Defendants’ motion for summary judgment
 as to Rasmy’s claims alleging a discriminatory hostile work
 environment. First, he argues that the District Court disregarded all
 incidents of harassment that were not expressly discriminatory or

        25   See, e.g. Kaytor v. Elec. Boat Corp., 609 F.3d 537, 546 (2d Cir. 2010).
        26   See id. at 545.
        27 Id. (internal citation and quotation marks omitted) (noting that “[t]his is
 especially so in considering claims of hostile work environment”).




                                              12
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page13
                                                 03/06/20    of 28
                                                          Page  13 of 28




 directed at Rasmy. Second, Rasmy objects to the District Court’s
 conclusion that pervasive and highly offensive harassment could not
 have altered the conditions of Rasmy’s employment because he had
 not been physically threatened and his work performance had not
 suffered. With respect to each of these arguments, Rasmy contends
 that the District Court improperly engaged in fact finding and
 resolved disputed issues of fact by drawing inferences against Rasmy.
 Regarding his claim of discriminatory retaliation, Rasmy argues that
 he established a prima facie case for retaliation, and a jury could
 reasonably find that he was terminated from his position in retaliation
 for complaining about the hostile work environment. We agree on
 each of these points.

     I.        Rasmy’s Hostile Work Environment Claim

          An employer violates Title VII when the “workplace is
 permeated with discriminatory intimidation, ridicule, and insult …
 that is sufficiently severe or pervasive to alter the conditions of the
 victim’s employment and create an abusive working environment …
 so long as there is a basis for imputing the conduct that created the
 hostile environment to the employer.”28 To analyze whether a plaintiff
 meets this burden, a district court considers “the totality of the
 circumstances, including: the frequency of the discriminatory conduct;
 its severity; whether it is physically threatening or humiliating, or a
 mere offensive utterance; and whether it unreasonably interferes with

         Kaytor, 609 F.3d at 546 (emphasis omitted) (citation and internal quotation
          28

 marks omitted).




                                         13
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page14
                                                 03/06/20    of 28
                                                          Page  14 of 28




 the victim’s [job] performance.”29 This test has both “objective and
 subjective elements: the misconduct shown must be severe or
 pervasive enough to create an objectively hostile or abusive work
 environment, and the victim must also subjectively perceive that
 environment to be abusive.”30

        The District Court held, with respect to Rasmy’s hostile work
 environment claims, that “[w]hile discriminatory behavior not
 directed at the plaintiff can still contribute to the creation of an overall
 hostile work environment, general anti‐religion statements of this
 nature not directed at the plaintiff personally are stray remarks at best.”
 (emphasis added) (internal quotation marks omitted).31 It concluded
 that there were “no facts in the record to support the inference that
 plaintiff was personally targeted by anti‐Christian animus, nor that he
 experienced anything more than a petty slight in his work
 environment regarding his religious practice.”32

                                            A

        Rasmy contends that the District Court erred by disregarding all
 incidents of harassment that were not expressly discriminatory or not

        29 Rivera v. Rochester Genesee Reg’l Transp. Auth., 743 F.3d 11, 20 (2d Cir. 2014)
 (alteration in original).
        30   Id. (citation and internal quotation mark omitted).
        31   Sp. App’x 21‐22 (emphasis added) (citation and internal quotation marks
 omitted).
        32   Sp. App’x 22.




                                            14
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page15
                                                 03/06/20    of 28
                                                          Page  15 of 28




 directed at Rasmy.33 Specifically, Rasmy maintains that the District
 Court refused to consider conduct not expressly based on race,
 religion, or national origin. Hence, Rasmy argues that it was error for
 the District Court to conclude as a matter of law that certain
 Defendants calling Rasmy a “rat” or allegedly filing false workplace
 complaints against him did not constitute discriminatory actions. We
 agree.

          Our case law is clear that when the same individuals engage in
 some harassment that is explicitly discriminatory and some that is not,




           The EEOC, in an amicus brief in support of Rasmy and in favor of reversal,
          33

 noted this point. The EEOC may participate as amicus curiae in a case that “raises
 novel or important issues of law under Title VII …” See EEOC Amicus Curiae
 Program https://www.eeoc.gov/eeoc/litigation/amicus.cfm. Here, the EEOC has
 chosen to participate, taking the position that the District Court “significantly
 misconstrued and misapplied Title VII’s protections against discriminatory hostile
 work environments.” EEOC Br. at 1. Although we are not bound by the EEOC’s
 interpretations of Title VII, we accord respectful consideration to the Commission’s
 views. See Townsend v. Benjamin Enterprises, Inc., 679 F.3d 41, 53 (2d Cir. 2012) (“The
 EEOCʹs Enforcement Guidance [interpreting Title VII] is entitled to deference to the
 extent it has the power to persuade.”); see also Skidmore v. Swift & Co., 323 U.S. 134,
 140 (1944) (“We consider that the rulings, interpretations and opinions of
 [administrative agencies], while not controlling upon the courts by reason of their
 authority, do constitute a body of experience and informed judgment to which
 courts and litigants may properly resort for guidance. The weight of such a
 judgment in a particular case will depend upon the thoroughness evident in its
 consideration, the validity of its reasoning, its consistency with earlier and later
 pronouncements, and all those factors which give it power to persuade, if lacking
 power to control.”).




                                           15
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page16
                                                 03/06/20    of 28
                                                          Page  16 of 28




 the entire course of conduct is relevant to a hostile work environment
 claim.34

        Moreover, on de novo review of the record, we note disputed
 issues of material fact as to whether a rational jury could infer
 discrimination from the fact that Efstratiou, Tehrani, and Pongpanta
 also allegedly called Rasmy several names explicitly related to his
 religion or national origin, including “[t]he mummy,” “camel,”
 “Egyptian rat,” and “pretentious Christian.”35

        On similar grounds, Rasmy challenges the District Court’s
 conclusion that “the unmistakable inference from the timing of the
 comments after years without incident [is] that [Rasmy’s] coworkers
 were likely motivated by personal animus in response to [Rasmy’s]
 allegations of wage theft more than any discriminatory animus.”36
 Here, too, we agree that the District Court inappropriately made




        34   See Pucino v. Verizon Wireless Commc’ns, Inc., 618 F.3d 112, 118 (2d. Cir
 2010) (“A plaintiff may rely on incidents of sex‐based abuse to show that other
 ostensibly sex‐neutral conduct was, in fact, sex‐based.”); Kaytor, 609 F.3d at 547‐48
 (“Circumstantial evidence that facially sex‐neutral incidents were part of a pattern
 of discrimination on the basis of gender may consist of evidence that the same
 individual engaged in multiple acts of harassment, some overtly sexual and some
 not.” (citation and internal quotation marks omitted)).

        35   App’x 93‐94, 200‐01, 357, 371, 484, 496.
        36   Sp. App’x 24‐25.




                                            16
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page17
                                                 03/06/20    of 28
                                                          Page  17 of 28




 factual       determinations    regarding      Defendants’       motivations,
 supplanting the role of the jury.37

        Concerning comments that Rasmy overheard that were not
 directed at him but allegedly were purposefully made to others in his
 presence, Rasmy testified at his deposition that Efstratiou “always
 made sure that [Rasmy] hear[d] comment[s] about religion[], about
 Egyptian[s], and [about] how superior Greeks are.”38 Rasmy claims
 that the record reveals numerous other references by Defendants to
 Rasmy’s religion and national origin—which, in his view, were
 “constant[].”39 The District Court dismissed these comments as “stray
 remarks,” stating that there were “no facts in the record to support the
 inference that [Rasmy] was personally targeted by any anti‐Christian
 animus.”40 Our review of the record leads us to conclude that Rasmy’s
 claims raise disputed issues of material fact—as to whether the
 abusive comments of which Rasmy complained were in fact stray
 remarks or sufficiently pervasive or chronic conduct constituting
 consciously discriminatory animus.




        37 See Raniola v. Bratton, 243 F.3d 610, 623 (2d Cir. 2001) (stating that
 questions regarding motives for defendant’s alleged discriminatory conduct are
 matters of fact that should be resolved by a jury).
        38   App’x 381.
        39   App’x 287.
        40   Sp. App’x 22.




                                       17
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page18
                                                 03/06/20    of 28
                                                          Page  18 of 28




         Moreover, the “stray remarks” doctrine is by no means
 dispositive.41 In a claim of a hostile work environment, the emphasis
 is on the hostility of the work environment as a whole, not the
 motivation of one decisionmaker, and liability is “determined only by
 looking at all the circumstances.”42 A plaintiff must show merely that
 discriminatory incidents were “sufficiently continuous and concerted
 to have altered the conditions of [the employee’s] working
 environment.”43 Accordingly, conduct not directly targeted at or
 spoken to an individual but purposefully taking place in his presence
 can nevertheless transform his work environment into a hostile or
 abusive one,44 and summary judgment for Defendants on this basis
 was unwarranted.

         In finding that Rasmy’s allegations did not constitute “severe”
 harassment, the District Court relied substantially on Mathirampuzha

         41 See Tomassi v. Insignia Fin. Grp., Inc., 478 F.3d 111, 115‐16 (2d Cir. 2007)
 (“Where we described remarks as ‘stray,’ the purpose of doing so was to recognize
 that all comments pertaining to a protected class are not equally probative of
 discrimination and to explain in generalized terms why the evidence in the
 particular case was not sufficient. We did not mean to suggest that remarks should
 first be categorized either as stray or not stray and then disregarded if they fall into
 the stray category.”) abrogated in part on other grounds by Gross v. FBL Fin. Servs. Inc.,
 557 U.S. 167 (2009).
         42   Harris, 510 U.S. at 23.

          Alfano v. Costello, 294 F.3d 365, 374 (2d Cir. 2002) (citation and internal
         43

 quotation marks omitted).
         44The EEOC notes in its brief that it has long taken this position. See EEOC
 Br. at 13‐14 (citing cases).




                                            18
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page19
                                                 03/06/20    of 28
                                                          Page  19 of 28




 v. Potter.45 Mathirampuzha, however, is inapposite. In that case, our
 analysis addressed a disparate‐treatment claim, rather than allegations
 of a hostile work environment. We held that an assault did not
 constitute an “adverse employment action” for purposes of the third
 prong of establishing a prima facie case in a disparate‐treatment case.46
 And even if the assault in Mathirampuzha were analyzed for purposes
 of determining whether a hostile work environment existed, the
 question presented was whether a “single event, if extraordinarily
 severe, could alter the conditions of a working environment.”47

        By contrast, here Rasmy has alleged numerous incidents of
 discriminatory harassment over the course of at least three years, and
 he claims that despite his repeated complaints to various persons in
 Marriott management, Marriott failed to respond appropriately.48 In
 examining the question of the severity of Defendants’ alleged
 discriminatory conduct and its effect on Rasmy, we consider relevant
 the total impact on Rasmy of the many alleged episodes of harassment
 over the course of three years. The District Court’s comparison of the
 facts to those in Mathirampuzha created “a rigid ‘calculat[ion] and
 compar[ison]’ methodology [that] ignore[d] the proper role of courts

        45   548 F.3d 70 (2d Cir. 2008).
        46   Id. at 78‐79.
        47   Id. at 79 (citation and internal quotation marks omitted).
        48 See Schiano v. Quality Payroll Sys., Inc., 445 F.3d 597, 606 (2d Cir. 2006)
 (when a plaintiff alleges ongoing harassment, the severity of any one act is not
 dispositive).




                                            19
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page20
                                                 03/06/20    of 28
                                                          Page  20 of 28




 … at the summary judgment stage … [and], if strictly followed,
 disregards Supreme Court guidance that hostile environment analysis
 ‘is not, and by its nature cannot be, a mathematically precise test.’”49

                                                  B

         Despite finding that Rasmy had not shown “severe”
 harassment, the District Court acknowledged that a jury could find
 “pervasive” harassment that was “offensive” and “degrading.”
 Nevertheless, it determined that the harassment Rasmy claimed was
 not actionable because there is nothing in the record from which a
 reasonable jury could conclude that the alleged discrimination altered
 the conditions of Rasmy’s employment. Specifically, the District Court
 concluded that Rasmy had not alleged that he had been physically
 threatened or that the claimed harassment, had interfered with his job
 performance. This analysis, in our view, misreads Title VII. As the
 EEOC’s brief noted, it “ignores the very reason that Title VII prohibits
 discriminatorily hostile work environments.”50

         Although the presence of physical threats or impact on job
 performance are relevant to finding a hostile work environment, their


         49Hayut v. State Univ. of N.Y., 352 F.3d 733, 746 (2d Cir. 2003) (quoting Harris,
 510 U.S. at 22).
         50   EEOC Br. at 18; see also Harris, 510 U.S. at 22 (“[E]ven without … tangible
 effects, the very fact that the discriminatory conduct was so severe or pervasive that
 it created a work environment abusive to employees because of their race, gender,
 religion, or national origin offends Title VII’s broad rule of workplace equality.”).




                                             20
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page21
                                                 03/06/20    of 28
                                                          Page  21 of 28




 absence is by no means dispositive. Rather, the overall severity and
 pervasiveness of discriminatory conduct must be considered.51 By its
 very nature that determination is bound to raise factual disputes that
 likely will not be proper for resolution at the summary judgment stage.
 In this case, there is a reasonable inference that Rasmy participated in
 a physical altercation as part of a deteriorating job performance caused
 by the alleged hostile work environment.52 Moreover, in its calculation
 of the severity of the discrimination Rasmy claimed, the District Court
 did not credit Rasmy’s sworn statements that the harassment made
 him “chronically nervous,” that he began to “cr[y] regularly,” and that
 he started seeing a psychiatrist who prescribed him anti‐anxiety
 medication, all of which arguably gives rise to a strong inference that
 Rasmy’s workplace conditions had been materially altered.53 To that
 extent, Rasmy presented disputed issues of material fact that should
 be resolved by a jury, not the court.54



        51See Harris, 510 U.S. at 23 (discussing Title VII’s totality of the
 circumstances inquiry).
        52Cf. Harris, 510 U.S. at 22 (“A discriminatorily abusive work environment,
 even one that does not seriously affect employeesʹ psychological well‐being, can
 and often will detract from employeesʹ job performance, discourage employees
 from remaining on the job, or keep them from advancing in their careers.”).
        53   App’x 287‐88.
        54 See Patterson v. County of Oneida, N.Y., 375 F.3d 206, 227 (2d Cir. 2004)
 (“Where reasonable jurors could disagree as to whether alleged incidents of racial
 insensitivity or harassment would have adversely altered the working conditions
 of a reasonable employee, the issue of whether a hostile work environment existed
 may not properly be decided as a matter of law.”).




                                         21
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page22
                                                 03/06/20    of 28
                                                          Page  22 of 28




     II.         Rasmy’s Retaliation Claim

           Rasmy also contends that the District Court erred in granting
 Defendants’ motion for summary judgment as to Rasmy’s retaliation
 claim. Specifically, he argues that there are disputed issues of material
 fact from which a reasonable jury could find that Rasmy was fired for
 complaining about unlawful discrimination. We agree.

           To establish a prima facie case of unlawful retaliation, a plaintiff
 must show “(1) that [he] participated in a protected activity, (2) that
 [he] suffered an adverse employment action, and (3) that there was a
 causal connection between [his] engaging in the protected activity and
 the adverse employment action.”55 Rasmy’s complaints to Marriott’s
 management regarding the alleged discrimination he was facing on a
 daily basis and his eventual termination satisfy the first two elements
 of the prima facie case.56

           With respect to the third element, the District Court concluded
 that Rasmy could not make out a prima facie case because the record
 does not show that he was terminated for complaining about
 harassment. To reach that conclusion, the District Court employed a


           55   Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 110 (2d Cir. 2010).

           See Manoharan v. Columbia Univ. Coll. of Physicians & Surgeons, 842 F.2d
           56

 590, 593 (2d Cir. 1988) (“To prove that he engaged in protected activity, the plaintiff
 need not establish that the conduct he opposed was in fact a violation of Title VII.
 However, the plaintiff must demonstrate a good faith, reasonable belief that the
 underlying challenged actions of the employer violated the law.” (internal citations
 and quotation marks omitted)).




                                                22
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page23
                                                 03/06/20    of 28
                                                          Page  23 of 28




 “but‐for” causation standard, which applies at the later stage of the
 burden shifting‐analysis when a plaintiff is attempting to demonstrate
 that an employer’s allegedly neutral reason for an adverse action is a
 pretext for retaliation.57 We conclude that Rasmy’s retaliation claim
 raises issues of material fact.

        The record indicates that Rasmy had complained about
 discrimination for years prior to being fired, and that his last formal
 complaint was made in January 2016, five months before his
 termination. On the basis of this timeline, the District Court held that
 “no reasonable juror could find that Marriott would not have
 terminated Rasmy but for his complaints of discrimination.”58 As
 noted above, however, the rule of but‐for causation is not applicable
 as to whether Rasmy established a prima facie case—it applies when a
 plaintiff is rebutting an employer’s neutral reason for an adverse
 employment action. As it happens, we have previously held that “five
 months is not too long to find the causal relationship.”59 Questions
 regarding the time gap and causal connection of an alleged retaliatory
 termination may entail special consideration of the size and

        57   See Ya‐Chen Chen v. City Univ. of N.Y., 805 F.3d 59, 70 (2d Cir. 2015).
        58   Sp. App’x 18.
        59   Gorzynski, 596 F.3d at 110; see also Summa v. Hofstra Univ., 708 F.3d 115, 128
 (2d Cir. 2013) (concluding that a “seven‐month gap between [plaintiff’s] filing of
 the instant lawsuit and the decision to terminate her employment privileges is not
 prohibitively remote”); Grant v. Bethlehem Steel Corp., 622 F.2d 43, 45‐46 (2d Cir.
 1980) (finding a causal connection between a retaliatory act and an EEOC complaint
 filed eight months earlier).




                                             23
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page24
                                                 03/06/20    of 28
                                                          Page  24 of 28




 complexity of a defendant employer, where termination of
 employment may involve multiple layers of decisionmakers, as well
 as the nature of plaintiff’s claims. In some such circumstances, a five‐
 month time frame for a decision to fire an employee may not be
 exceptional.

        In sum, we find that there is a triable issue of fact as to whether
 Rasmy’s allegations that his attempts to raise the issue of harassment
 with higher management at Marriott in January 2016 led to him being
 fired. Specifically, Rasmy asserts that after he filed his EEOC charge,
 Doherty was upset, “verbally abused” him, threatened to fire him, and
 told him to “keep [his] mouth shut” about anything that happened in
 the hotel “or [his] days will be numbered.”60 Whether Rasmy’s firing
 five months after a complaint of discrimination was caused by his
 complaints or, as Marriott argues, by his fight with Pongpanta, raises
 a factual issue that should be decided by a jury. Marriott’s claim that
 Doherty’s reaction related to Rasmy’s reports of wage theft rather than
 his complaints of discrimination also poses a factual question that both
 sides are disputing, and therefore should be presented to a jury.

        As our cases hold, the question of what motivated an employer’s
 desire to fire a worker is a quintessential jury function.61 In the

        60   App’x 361, 367, 494.
        61   See Stern v. Trustees of Columbia Univ. in City of N.Y., 131 F.3d 305, 312 (2d
 Cir. 1997) (noting that, “[i]n assessing the record to determine whether there is such
 an issue, the court is required to resolve all ambiguities and draw all permissible
 factual inferences in favor of the party against whom summary judgment is




                                             24
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page25
                                                 03/06/20    of 28
                                                          Page  25 of 28




 circumstances presented here, a reasonable jury could find that
 Marriott’s reasons for firing Rasmy were pretextual. Once a plaintiff
 makes out a prima facie case of retaliation under the burden‐shifting
 framework, the defendant may rebut the “presumption of retaliation”
 by “articulat[ing] a legitimate, non‐retaliatory reason for the adverse
 employment action.”62 If the defendant provides an explanation, the
 plaintiff must prove “that the desire to retaliate was the but‐for cause
 of the challenged employment action.”63 Here, Marriott states that its
 non‐retaliatory reason for firing Rasmy was due to his physical
 altercation with Pongpanta on May 24, 2016.64 However, Rasmy
 argues (and a jury could agree) that this proffered reason is mere
 pretext, and the decision to terminate his employment was due to his
 repeated complaining to Marriott about ongoing discrimination.

         It bears recalling, that in discrimination cases, plaintiffs rarely
 produce direct evidence of retaliation. As we observed in Carlton v.
 Mystic Transportation, Inc.:

         [P]roof is seldom available with respect to an employer’s mental
         processes. Instead, plaintiffs in discrimination suits often must



 sought”); Gallo v. Prudential Residential Servs., Ltd. Partnership, 22 F.3d 1219, 1224 (2d
 Cir. 1994) (“A trial court must be cautious about granting summary judgment to an
 employer when, as here, its intent is at issue.”).

         62   Jute v. Hamilton Sundstrand Corp., 420 F.3d 166, 173 (2d Cir. 2005).
         63   Ya‐Chen Chen, 805 F.3d at 70 (citation omitted).
         64   See Appellees’ Br. at 19.




                                              25
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page26
                                                 03/06/20    of 28
                                                          Page  26 of 28




        rely on the cumulative weight of circumstantial evidence, since
        an employer who discriminates against its employee is unlikely
        to leave a well‐marked trail, such as making a notation to that
        effect in the employee’s personnel file. Ordinarily, plaintiff’s
        evidence establishing a prima facie case and defendant’s
        production of a nondiscriminatory reason for the employment
        action raise a question of fact to be resolved by the factfinder
        after a trial. Summary judgment is appropriate at this point only
        if the employer’s nondiscriminatory reason is dispositive and
        forecloses any issue of material fact.65

        Here, Rasmy has made a prima facie case of retaliation based on
 Doherty’s threats for Rasmy “to keep [his] mouth shut” or his “days
 will be numbered.”66 Marriott claims that Rasmy was fired because of
 his altercation with Pongpanta, and that both employees were treated
 equally because Pongpanta was fired as well.67 There are a host of
 disputed facts in this regard that render summary judgment
 inappropriate. Rasmy denies hitting Pongpanta (both Marriott and
 Pongpanta argue that Rasmy initiated the physical conflict), and based
 on Rasmy’s earlier complaints about Pongpanta, Marriott was aware
 that Pongpanta had been instigating confrontations with Rasmy



        65   202 F.3d 129, 135 (2d Cir. 2000) (internal citations omitted).
        66   App’x 361, 367.
        67 Pongpanta was later reinstated to his position after a post‐termination
 arbitration proceeding brought through his union. Rasmy never attempted to
 appeal his firing through arbitration.




                                             26
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page27
                                                 03/06/20    of 28
                                                          Page  27 of 28




 repeatedly by making offensive remarks about Rasmy’s race, religion,
 and national origin.

        Marriott claims that there were no cameras in the hallway where
 the fight took place, which Rasmy disputes in his testimony, recalling
 at his deposition that there were “two cameras in the hallway ceiling
 pointed at the ground of the hallway … [and that] they were
 functioning.”68 Whether or not such cameras were in place and
 functioning are relevant and disputed factual questions that should be
 decided by a jury. On our review of the record, we think a jury could
 find in favor of Rasmy on the issue of fact as to whether Marriott was
 aware of video footage of the altercation, but declined access to it. In
 sum, we conclude that it was error to grant summary judgment to
 Defendants on Rasmy’s retaliation claim.

     III.     Rasmy’s State Law Claims

        Because the District Court granted summary judgment
 disposing of Rasmy’s federal claims, it declined to exercise
 supplemental jurisdiction over Rasmy’s remaining retaliation claims
 brought under the NYSHRL and NYCHRL. We accordingly reinstate
 these claims insofar as the District Court dismissed them without
 prejudice due solely to the absence of Rasmy’s federal claims.69



        68   App’x 379.
        69See Karibian v. Columbia Univ., 14 F.3d 773, 781 (2d Cir. 1994) (vacating
 dismissal of plaintiff’s Title VII claims and reinstating pendent state law claims
 dismissed for lack of jurisdiction).




                                        27
Case Case 18-3260, Document 135,
     1:16-cv-04865-AJN-OTW       03/06/2020,
                             Document        2795454,
                                        99 Filed      Page28
                                                 03/06/20    of 28 of 28
                                                          Page




                             CONCLUSION

        To summarize, we hold as follows:

        (1) A hostile work environment claim does not require a plaintiff
           to show that he or she had been physically threatened or that
           his or her work performance had suffered by reason of such
           hostile work environment;

        (2) Discriminatory conduct not directly targeted at another
           employee (e.g., discriminatory remarks made in an
           employee’s presence though addressed to another person)
           can contribute to the creation of an actionable hostile work
           environment;

        (3) Dismissal of Rasmy’s retaliation claim by summary
           judgment was improper because Rasmy presented disputed
           issues of material fact that should be resolved by a jury.

        For the foregoing reasons, we VACATE the September 28, 2018
 judgment of the District Court and REMAND the cause to the District
 Court for further proceedings consistent with this opinion, including
 trial as appropriate.




                                    28
